                    Case 22-06283            Doc 1       Filed 06/02/22 Entered 06/02/22 16:27:15                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Home Products International - North America, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4501 W. 47th Street
                                  Chicago, IL 60632
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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Debtor    Home Products International - North America, Inc.                                           Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               3261

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                               Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 04/01/25 and every 3 years after that).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return, or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D) and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                               A plan is being filed with this petition.
                                                               Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases           No
    pending or being filed by a
    business partner or an             Yes.
    affiliate of the debtor?




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Debtor    Home Products International - North America, Inc.                                             Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor       Home Products International, Inc.                            Relationship
                                                                Northern District of
                                                   District     Illinois               When 6/2/2022                         Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or              No
    have possession of any
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                    livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                           50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion




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Debtor    Home Products International • North America, Inc.                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3 571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                                  06/02/2022


                                                                                                         James Auker
                                                                                                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X Isl Edward J. Green                                                         Date   06/02/2022
                                 Signature of attorney for debtor                                                 MM/DD/YYYY

                                 Edward J. Green
                                 Printed name

                                 FOLEY & LARDNER LLP
                                 Firm name

                                 321 North Clark Street
                                 Suite 3000
                                 Chicago, IL 60654
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     312-832-4500                  Email address      egreen@foley.com


                                 6225069 (IL)
                                 Bar number and State




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                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

                                        )
      In re:                            )                         Chapter 11
                                        )
      HOME PRODUCTS INTERNATIONAL-NORTH )                         Case No. _____________
      AMERICA, INC.,                    )
                                        )                         Honorable ___________
                                        )
                 Debtor-in-Possession.  )
                                        )

                                                  Rider 1
                   Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
        petition in the United States Bankruptcy Court for the Northern District of Illinois for relief
        under chapter 11 of the title 11 of the United States Code. The Debtors have moved for joint
        administration of these cases under the case number assigned to the chapter 11 case of Home
        Products International Inc.

                     1. Home Products International, Inc.

                     2. Home Products International – North America, Inc.




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                      JOINT RESOLUTION OF THE BOARD OF DIRECTORS OF
                          HOME PRODUCTS INTERNATIONAL, INC. AND
                    HOME PRODUCTS INTERNATIONAL - NORTH AMERICA, INC.
                                  SPECIAL JOINT MEETING
                                        MAY 11, 2022

                 WHEREAS, Home Products International - North America, Inc. ("HPI-NA"), as
         Borrower, and Home Products International, Inc. ("HPI"), as Loan Party Obligor, are parties to
         that certain Loan and Security Agreement, dated of February 28, 2019 (as amended or otherwise
         modified from time to time, the "Loan Agreement"), with Eclipse Business Capital SPY, LLC
         f/k/a Encina Business Credit SPY, LLC ("Lender"), and Eclipse Business Capital LLC f/k/a
         Encina Business Credit LLC ("Administrative Agent"), pursuant to which the Lender agreed to
         make loans to HPI-NA;

                WHEREAS, HPI-NA, HPI, and the Administrative Agent entered into that certain
         Forbearance Agreement and Sixth Amendment to Loan and Security Agreement on November
         11, 2021, which has since expired in accordance with its terms;

                WHEREAS, HPI-NA, HPI, and the Administrative Agent entered into that certain
         Second Forbearance Agreement and Seventh Amendment to Loan and Security Agreement on
         December 17, 2021, which has since expired in accordance with its terms;

                WHEREAS, HPI-NA, HPI, and the Administrative Agent entered into that certain Third
         Forbearance Agreement and Seventh Amendment to Loan and Security Agreement on March 14,
         2022, (the "Third Forbearance Agreement"), which has since expired in accordance with its
         terms;

                WHEREAS, HPI-NA and HPI have been unable to negotiate an extension to the Third
         Forbearance Agreement;

                 WHEREAS, the Boards have considered the financial condition and circumstances of
         HPI-NA and HPI, including without limitation the assets and liabilities of each corporation and
         their operational performance;

                 WHEREAS, the Boards have reviewed, considered, and received the recommendations
         of the senior management of HPI-NA and HPI and their professionals and advisors as to the
         relative risks and benefits of a chapter 11 bankruptcy proceeding; and

                 WHEREAS, based upon the recommendation of the professionals and senior
         management, the Boards have made an informed determination that, absent a viable alternative,
         it will be in the best interests of HPI-NA and HPI, and their respective shareholders, creditors
         and other interested parties, to file voluntary petitions (the ·'Voluntary Petitions") for relief under
         chapter 11 of Title 11 of the United States Code, 11 U.S.C. § 101 et seq. (the "Bankruptcy
         Code").

         Filing of Voluntary Petitions

                NOW, THEREFORE, BE IT RESOLVED, that, absent a viable alternative, the Boards
         hereby find, determine and conclude that it is desirable and in the best interests of the HPI-NA


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        and HPI, their respective creditors, shareholders and other interested parties that the Voluntary
        Petitions seeking relief under the Bankruptcy Code and the filing of the Voluntary Petitions is
        authorized hereby.

        Appointment of Authorized Officers

               RESOLVED, that the Chief Executive Officer and the Chief Financial Officer of HPI­
        NA and HPI (the "Authorized Officers") are authorized on behalf of HP I-NA and HPI to execute
        and verify the Voluntary Petitions in the name of the HPI-NA and HPI under Chapter 11 of the
        Bankruptcy Code, and to cause the same to be filed in the United States Bankruptcy Court in
        such form and at such time as the Authorized Officers shall determine.

         Actions by Authorized Officers

                RESOLVED, that the Boards hereby authorize and empower the Authorized Officers to
        take such other actions at such time as he deems necessary, appropriate or desirable to cause the
        preparation and filing of the Voluntary Petitions, schedules, statement of financial affairs, lists,
        pleadings and other papers or documents, and to take any and all actions which they deem
        necessary or proper for and on behalf of HPI-NA and HPI to obtain relief under the Bankruptcy
        Code, including without limitation depositing the executed Voluntary Petitions, schedules,
        statement of financial affairs, lists, pleadings and other papers or documents in the custody of the
        law firm of Foley & Lardner LLP ("Foley & Lardner"), to be held in trust until such time as the
        Authorized Officers instruct Foley & Lardner, either orally or in writing, to file the Voluntary
        Petitions and schedules, statement of financial affairs, lists, pleadings and other papers or
        documents;

                RESOLVED FURTHER, the Authorized Officers are hereby authorized and
        empowered on behalf of, and in the name of, HPI-NA and HPI to take such actions as are
        necessary, appropriate, advisable or desirable to pursue and maximize the benefits of Chapter 11,
        including without limitation: (i) making arrangements for postpetition financing and/or use of
        cash collateral; (ii) pursuing and consummating any sale or sales of assets; and (iii) developing,
        negotiating, confirming and performing under, a bankruptcy plan of reorganization or
        liquidation, and to negotiate, execute and deliver any and all agreements, instruments and related
        documents that, in the judgment and discretion of the Authorized Officers, are necessary,
        appropriate, advisable or desirable for consummating such financing or use of cash collateral, for
        pursuing and consummating such sale or sales of assets or for such development, negotiation and
        confirmation of, and performance under, such a bankruptcy plan of reorganization or liquidation.
        including without limitation executing credit agreements, asset purchase agreements, plans and
        related documents;

                 RESOLVED FURTHER, that the Authorized Officers are authorized to employ the law
         firm of Foley & Lardner, as general bankruptcy counsel to HPI-NA and HPI, and to take any and
         all actions to advance HPI-NA's and HPI's rights and, in connection therewith, the Authorized
         Officers are authorized to pay appropriate retainers prior to and immediately upon the filing of
         the Chapter 11 cases, and to cause to be filed appropriate applications for authority to retain the
         services of Foley & Lardner;

                RESOLVED FURTHER, that the Authorized Officers are authorized to employ
         additional professionals, including without limitation any attorneys, financial advisors or

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        consultants to HPI-NA and HPI as the Authorized Officers deem necessary, appropriate,
        advisable or desirable to represent and assist HPI-NA and HPI in considering restructuring
        alternatives and carrying out their respective duties under the Bankruptcy Code; and in
        connection therewith, the Authorized Officers are hereby authorized to execute appropriate
        retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
        Voluntary Petitions, and to cause to be filed appropriate applications for authority to retain the
        services of such additional professionals;

                RESOLVED FURTHER, that the Authorized Officers (and such other officers as the
        Authorized Officers may from time to time designate) are authorized and powered, in the name
        of, and on behalf of HPI-NA and HPI: (a) to take or cause to be taken any and all such other and
        further action; (b) to do and perform, or cause to be done or performed, all such acts and things;
        (c) to negotiate, execute and deliver, or cause to be negotiated, executed or delivered, all such
        further papers, pleadings, documents and instruments of any type and description; and (d) to pay,
        or cause to be paid, any and all fees, charges and costs of any type or description, all of which
        may be, or may be deemed to be, necessary, appropriate, advisable or desirable to effect the
        purposes and intent of the foregoing resolutions, the necessity, propriety, advisability or
        desirability of which shall be conclusively evidenced by any such officer's taking, or causing to
        be taken, any such action, doing and performing, or causing to be done or performed, any such
        act or thing, executing and delivering, or causing to be executed and delivered, any such papers,
        pleadings, documents or instruments, or paying, or causing to be paid, any such fees, charges and
        costs; and the execution by any of such officers of any such papers, pleadings, documents or
        instruments, or the doing by any of them of any act or thing in connection with any of the matters
        or things contemplated by, arising out of or in connection with, or otherwise relating in any
        manner whatsoever, the subject of the resolutions set forth above, shall conclusively establish
        their authority therefor from HPI-NA and HPI and the approval and ratification by HPI-NA and
        HP[ of any and all papers, pleadings, documents and instruments so executed and delivered, and
        any and all action so taken, done or performed.

        Prior Related Acts

               RESOLVED, that all of the acts and transactions relating to matters contemplated by the
        foregoing resolutions of management and members of the Boards, in the name and on behalf of
        HPI-NA and HPI, which acts would have been approved by the foregoing resolutions except that
        such acts were taken prior to execution of these resolutions, are hereby in all respects confirmed,
        approved and ratified.

                                            [Signature page follows.]




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                 I hereby certify that the foregoing resolutions were duly adopted by the Board of
         Directors of Home Products International - North America, Inc. and Home Products
         International, Inc. at a special joint meeting on May 11, 2022, at which a quorum was present.

                The following Directors voted in favor of the Resolution: Harris Kay, Dale Matschullat,
         William Roberts, Mick Solimene.

                The following Director did not attend the meeting and thus abstained from voting on the
         Resolution: George Hamilton.

                   No Directors voted against the Resolution.




                                                           Ja s       er
                                                           Secretary & Treasurer
                                                           Executive Vice President, Chief Financial
                                                           Officer
                                                           Home Products International - North America,
                                                           Inc. and Home Products International, Inc.




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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Home Products International - North America, Inc.                                            Case No.
                                                                                  Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Home Products International - North America, Inc. in the above captioned action,
certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly
own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under
FRBP 7007.1:
 Home Products International, Inc.
 4501 W. 47th Street
 Chicago, IL 60632




 None [Check if applicable]




June 2, 2022                                                         /s/ Edward J. Green
 Date                                                                Edward J. Green
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Home Products International - North America, Inc.
                                                                     FOLEY & LARDNER LLP
                                                                     321 North Clark Street
                                                                     Suite 3000
                                                                     Chicago, IL 60654
                                                                     312-832-4500 Fax:312-832-4700
                                                                     egreen@foley.com




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       Fill in this information to Identify the case:

    Debtor Name: Home Products International ‐ North America, Inc.
                                                                                                                                                 Check if this is an
    United States Bankruptcy Court for the:             Northern District of Illinois                                                            amended filing
    Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing        Name, telephone number,          Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                  and email address of             (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                creditor contact                 debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                                 professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                                 services, and         or disputed     setoff to calculate unsecured claim.
                                                                                 government
                                                                                 contracts)
                                                                                                                       Total claim, if        Deduction for      Unsecured claim
                                                                                                                       partially secured      value of
                                                                                                                                              collateral or
                                                                                                                                              setoff

   1       BRASKEM AMERICA, INC                 CONTACT: CLARISSA                TRADE DEBT                                                                          $2,993,500.50
           1735 MARKET ST FL 28                 GRAZIANI
           PHILADELPHIA, PA 19103-7534          PHONE: 267-908-0061
                                                CLARISSA.GRAZIANI@BRASK
                                                EM.COM
   2       MATERIAL DIFFERENCE                  CONTACT: SCOTT WILLIFORD TRADE DEBT                                                                                  $2,862,492.59
           TECHNOLOGIES                         PHONE: 214-914-1922
           1501 SARASOTA CENTER BLVD            SCOTTW@MATERIALDIFFERE
           SARASOTA, FL 34240                   NCETECHNOLOGIES.COM

   3       PINNACLE POLYMERS                    CONTACT: RAY BUCKWALTER TRADE DEBT                                                                                   $1,870,905.00
           ONE PINNACLE AVENUE                  PHONE: 908-635-4177
           GARYVILLE, LA 70051                  RAY.BUCKWALTER@PINNAC
                                                LEPOLYMERS.COM

   4       BLUE FIN STEEL                       CONTACT: MELINA GARATE    TRADE DEBT                                                                                 $1,523,418.64
           372 BAY STREET                       PHONE: 416-640-0548 X1004
           SUITE 406                            MELINA@BLUEFINSTEEL.CO
           TORONTO, ON M5H 2W9 CANADA           M

   5       JADE METALS CORP.                    CONTACT: STEPHEN                 TRADE DEBT                                                                            $633,088.21
           9 GLADIOLA COURT                     MARGLES
           TORONTO, ON M3H 5X5                  PHONE: 416-569-3539
           CANADA                               STEPHEN@JADEMETALS.CO
                                                M
   6       CHICAGO MOLD ENGINEERING             CONTACT: JEFF OSWALD  TRADE DEBT                                                                                       $505,180.49
           615 STETSON AVE                      PHONE: 630-816-8365
           ST. CHARLES, IL 60174                JOSWALD@CHICAGOMOLD.C
                                                OM




Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                            Page 1
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                                            Filed 06/02/22 Entered 06/02/22 16:27:15 Desc Main
  Debtor: Home Products International ‐ North Document
                                              America, Inc. Page 12 of 14Number (if known):
                                                                    Case
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if        Deduction for      Unsecured claim
                                                                                                            partially secured      value of
                                                                                                                                   collateral or
                                                                                                                                   setoff

   7    RIVERVIEW STEEL CO, LTD.           CONTACT: MICHAEL         TRADE DEBT                                                                              $504,755.84
        8165 ANCHOR DRIVE                  MELOCHE
        WINDSOR, ON N8N 5B7                PHONE: 519-979-8255 X247
        CANADA                             MMELOCHE@RIVERVIEWSTE
                                           EL.COM
   8    KLOECKNER METALS US MIDWEST        CONTACT: ROBERT            TRADE DEBT                                                                            $490,165.00
        INC                                SCHIEMAN
        RECEIVABLES CORPORATION            PHONE: 317-460-0961
        75 REMITTANCE DRIVE, SUITE 6402    ROB.SCHIEMAN@KLOECKNE
        CHICAGO, IL 60675                  R.COM
   9    ASSOCIATED STEEL TRADING LLC       CONTACT: IAN EPSTEIN     TRADE DEBT                                                                              $348,048.96
        12187 E. CORTEZ DRIVE              PHONE: 480-577-4904
        SCOTTSDALE, AZ 85259               IJEPSTEIN@ASSOCIATEDSTEE
                                           LTRADING.COM
   10   AMERICAN EAGLE PACKAGING           CONTACT: TOM O’MALLEY      TRADE DEBT                                                                            $341,747.83
        CORP.                              PHONE: 224-856-4817
        1645 TODD FARM DRIVE               TOMALLEY@AEPKG.COM
        ELGIN, IL 60123
   11   DYNEGY ENERGY SERVICES             CONTACT: CUSTOMER      TRADE DEBT                                                                                $295,613.82
        27679 NETWORK PLACE                SERVICE
        CHICAGO, IL 60673                  PHONE: 833-241-4591
                                           DESCUSTCARE@VISTRACORP
                                           .COM
   12   WESTROCK CP, LLC                   CONTACT: CHERYL COOK       TRADE DEBT                                                                            $289,454.15
        3101 STATE STREET                  PHONE: 770-326-8493
        COLUMBUS, IN 47201                 CHERYL.COOK@WESTROCK.
                                           COM
   13   COOLTEX (ANHUI)                    CONTACT: RANDY REN         TRADE DEBT                                                                            $282,154.38
        MANUFACTURING                      PHONE: +86-5566567678
        NO. 8 JINGYI ROAD                  RANDY.REN@163.COM
        TONCHENG, ANGING, ANHUI
        231400
        CHINA
   14   BLUE RIDGE INDUSTRIES, INC.        CONTACT: NATALIE MILLER    TRADE DEBT                                                                            $263,370.95
        266 ARBOR CT                       PHONE: 540-662-3900 X232
        WINCHESTER, VA 22602               NMILLER@BLUERIDGEIND.C
                                           OM
   15   GREEN BAY PACKAGING                CONTACT: JOEL BARTA        TRADE DEBT                                                                            $249,793.22
        3601 N. RUNGE AVENUE               PHONE: 920-433-5116
        FRANKLIN PARK, IL 60131            JBARTA@GBP.COM
   16   RSM US LLP                         CONTACT: BOB SEIFERT       TRADE DEBT                                                                            $220,455.00
        5155 PAYSPHERE CIRCLE              PHONE: 847-413-6458
        CHICAGO, IL 60674                  BOB.SEIFERT@RSMUS.COM
   17   CH ROBINSON/ABH DIVISION - OCE     CONTACT: ELIZABETH         TRADE DEBT                                                                            $220,028.20
        14701 CHARLSON ROAD                WATSON
        EDEN PRARIE, MN 55347-5076         PHONE: 1-855-229-6128
                                           ELIZABETH.WATSON@CHRO
                                           BINSON.COM
   18   SCOTT STEEL LLC.                   CONTACT: JOHN SCOTT     TRADE DEBT                                                                               $212,875.31
        ATTN: JOHN SCOTT                   PHONE: 937-552-9670
        125 CLARK ST                       JOHN.SCOTT@SCOTTSTEELLL
        PIQUA, OH 45356                    C.COM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 2
                    Case 22-06283           Doc 1
                                            Filed 06/02/22 Entered 06/02/22 16:27:15 Desc Main
  Debtor: Home Products International ‐ North Document
                                              America, Inc. Page 13 of 14Number (if known):
                                                                    Case
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if        Deduction for      Unsecured claim
                                                                                                            partially secured      value of
                                                                                                                                   collateral or
                                                                                                                                   setoff

   19   MILL STEEL COMPANY                 CONTACT: TIM               TRADE DEBT                                                                            $201,418.88
        2905 LUCERNE DR SE                 VANWINGERDEN
        GRAND RAPIDS, MI 49546             PHONE: 616-977-9056
                                           TIM.VANWINGERDEN@MILL
                                           STEEL.COM
   20   HARVEY PALLETS INC                 CONTACT: MANUEL TAVAREZ TRADE DEBT                                                                               $182,623.33
        2200 138TH ST                      PHONE: 708-293-1831
        BLUE ISLAND, IL 60406-3209         MANUEL@HARVEYPALLETS.C
                                           OM

   21   UBE MACHINERY INC.                 CONTACT: DEVIN HAKE   TRADE DEBT                                                                                 $181,727.47
        5700 SOUTH STATE STREET            PHONE: 734-741-7818
        ANN ARBOR, MI 48108                DHAKE@UBEMACHINERY.CO
                                           M
   22   PRO-MET STEEL, INC.                CONTACT: JUSTIN EGLE       TRADE DEBT                                                                            $172,321.93
        20550 S. LAGRANGE RD               PHONE: 773-995-0317
        SUITE 300                          PROMETJUSTIN@ATT.NET
        FRANKFORT, IL 60423
   23   GLOBAL FELT TECHNOLOGIES           CONTACT: JOEY DUNCAN TRADE DEBT                                                                                  $156,754.80
        541 BUFFALO WEST SPRINGS HWY       PHONE: 864-426-2047
        UNION, SC 29379-9603               JDUNCAN@DALCONONWOV
                                           ENS.COM
   24   TMS SALES & MARKETING, INC.        CONTACT: CURTIS        TRADE DEBT                                                                                $126,655.44
        9950 WEST LAWRENCE AVENUE,         MATHENEY
        SUITE 400                          PHONE: 847-489-5318
        SCHILLER PARK, IL 60176            WEBINQUIRY@TMSSALESINC
                                           .COM
   25   TALCO PLASTICS, INC                CONTACT: JACK SHEDD        TRADE DEBT                                                                            $114,282.00
        1000 W. RINCON ST.                 PHONE: 951-531-2001
        CORONA, CA 92878                   JACK@TALCOPLASTICS.COM

   26   TNT PLASTIC MOLDING                CONTACT: DENNIS            TRADE DEBT                                                                            $110,127.13
        725 EAST HARRISON STREET           CHADWICK
        CORONA, CA 92879                   PHONE: 951-808-9700 X302
                                           DENNIS@TNTPLASTICMOLDI
                                           NG.COM
   27   FOREVER HOLDINGS LTD.              CONTACT: VERA CHAN         TRADE DEBT                                                                            $109,816.20
        UNIT 507                           PHONE: +852-27825663
        5TH FLOOR, KOWLOON PLAZA           VERACHAN@FOREVER-
        HONG KONG 528322                   CHINA.COM
        HONG KONG
   28   METALS USA                         CONTACT: BRIAN SCHMIDT   TRADE DEBT                                                                              $101,484.78
        5750 LOWER VALLEY PIKE             PHONE: 330-264-8416 X203
        PITTSBURGH, PA 45502               BSCHMIDT@METALSUSA.CO
                                           M
   29   PAMCO                              CONTACT: SCOTT GALLINGER TRADE DEBT                                                                               $86,666.20
        147 SEABOARD LN                    PHONE: 919-518-6288
        FRANKLIN, TN 37067-8217            SCOTT.GALLINGER@RESOUR
                                           CELABEL.COM

   30   COLORS FOR PLASTICS INC.           CONTACT: ROBERT DALLESKA TRADE DEBT                                                                               $70,673.74
        2245 PRATT BLVD.                   PHONE: 847-462-6071
        ELK GROVE VILLAGE, IL 60007        RDALLESKA@COLORSFORPLA
                                           STICS.COM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 3
           Case 22-06283                     Doc 1           Filed 06/02/22 Entered 06/02/22 16:27:15                          Desc Main
                                                              Document     Page 14 of 14




  Fill in this information to identify the case

  Debtor name         Home Products International - North America, Inc.

  United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

  Case number (if known)
                                                                                                                               D Check if this is an
                                                                                                                                 amended filing


 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the Individual's position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.

 WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
 1519, and 3571.


                 Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
         individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          D        Schedule A/8: Assets-Real and Personal Property (Official Form 206NB)
         □         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         □         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         □         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         □         Schedule H: Codebtors (Official Form 206H)
         D         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         O         Amended Schedule
         ■         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
         D         Other document that requires a declaration

        I declare under penalty of perjury that the foregoing is tru             correct

         Executed on        __________
                             June 2, 2022                           X
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                                                                     'Sig

                                                                     James Auker
                                                                     Printed name

                                                                     Chief Financial Officer
                                                                     Position or relationship to debtor




Official Form 202                                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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